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                          EXHIBIT A
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                           INMATE DISCIPLINE HISTORY REPORT           PAGE    01


ID : 129924    ALLEN JHANSON              MAX LOC : PRUD Pl -      D. O. B . 08/26/ 1 985

   LGT        BOOK--DATE FINDING     FIND- - DATE   ------INMATE APPEAL---- - -             --SEVERITY CODES--
                INFRACTION(S)                        BOARD ACTION

            10/24/2010 GU I LTY     10/27/20 1 0 YES DENIED         11 /04/20 1 0            HI GHEST (NON-PREDATOR
         Di sobeying a Clearly Stated Order i n a Manner that
                                                                    2 1 DAYS DISC I PLINARY CONFI NEMENT
    10                                                              1 0 DAYS LOSS OF GOOD TIME


           03/23/2011 GUILTY       03/25/201 1 NO                                            MODERATE
         Disorderly Conduct /Disobeying housing unit/area/b
                                                                     0 DAYS REPRIMAND


           03/18/2017 DISCHARGED 03/22/2017 NO                                               HIGHEST(NON - PREDATOR
         Fighting (inmate on inmate) with serious injury re

           05/26/2017 GUILTY         06/07/2017 YES DEN I ED        06/15/2017               HI GHEST(NON-PREDATOR
         Interfer i ng With the Duties of a Correctional Offi
                                                                    20 DAYS DISCIPLINARY CONFINEMENT
     0                                                              20 DAYS LOSS OF GOOD TIME


           08/22/2017 GUILTY       08/25/2017 YES DENIED            09/05/20 1 7             HIGHEST(NON-PREDATOR
         Threatening an Employee or His/Her Family with Bod
                                                                    30 DAYS DISCIPLINARY CONFI NEMENT
     0                                                              30 DAYS LOSS OF GOOD TI ME


         _ Jl9/22/2 017_ GUIJ,IT   09/27 /20 1 7 YES DENIED         10/2.j/2017_              HIGHEST(NON- PREDATOR
         Conduct That Disrupts or Interferes with the Secur
                                                                    20 DAYS DISC I PLINARY CONFINEMENT
     0                                                              20 DAYS LOSS OF GOOD TIME


          09/23/2017 GUILTY         10/04/2017 YES DENIED           10/16/2017                HIGH
         Willfully Disfiguring , Damaging , and/or Destroying
                                                                     0 DAYS RES TITUTION
                                                                    20 DAYS DISCIPLINARY CONFI NEMENT
     0                                                              20 DAYS LOSS OF GOOD TI ME


           10/19/2017 GUILTY          10/25/20 1 7 YES DENIED       11 /09/2017               HIGH
         Wil l fully Disfiguring , Damaging , and/or Destroying
                                                                     0 DAYS RES TI TUT I ON
                                                                    30 DAYS DISCIPLINARY CONFINEMENT
    30                                                              30 DAYS LOSS OF GOOD TIME


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   DISP006 . rpt            R. I . DEPARTMENT OF CORRECTIO•. J          DATE: 02/14/2019

                           INMATE DISCIPLINE HISTORY REPORT             PAGE   02


ID: 129924    ALLEN JHANSON                MAX LOC: PRUD Pl-         D.O . B. 08/26/1985

   LGT       BOOK--DATE FINDING       FIND--DATE    ------INMATE APPEAL------               --SEVERITY CODES --
               INFRACTION (S)                        BOARD ACTION

           10/26/2017 GUILTY       11/02/2017 YES DENIED              11/10/2017              HIGHEST(NON-PREDATOR
         Interfering With the Duties of a Correctional Offi
                                                                      25 DAYS DISCIPLINARY CONFINEMENT
     0                                                                25 DAYS LOSS OF GOOD TIME


           11 /20/2017 GUILTY      11/22/2017 YES DENIED              12/13/2017              HIGHEST(PREDATORY)
         Assault on an inmate with serious injury resulting
                                                                     150 DAYS DISCIPLINARY CONFINEMENT
    20                                                                20 DAYS LOS S OF GOOD TIME


           10 /3 1 /2018 GU ILTY      11 /02/2018   YES   DENIED      11/07/2018              LOW-MODERATE
         Poor j ob performance
                                                                       0 DAYS LOSS OF JOB


           12/01/2018 GUILTY       1 2/04/2018 NO                                             HIGH
         Interfering with the Duties of a Correctional Offi
                                                                       3 DAYS DISCIPLINARY CONFINEMENT
     3                                                                 3 DAYS LOSS OF GOOD TIME


           01/24/2019 GUILTY       01/29/2019       YES   DENIED      02/05/2019              LOW-MODERATE
         Possessing Category 2 Contraband
                                                                       5 DAYS LOSS OF PRIVILEGES
     5                                                                 5 DAYS LOSS OF GOOD TIME



                          TOTAL BOOKINGS THIS INMATE :                              13
